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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                     Southern District
                                                   __________  DistrictofofNew York
                                                                            __________

                      IDLE MEDIA, INC,                               )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 1:24-cv-00805
                                                                     )
 CREATE MUSIC GROUP, INC. and KYLE REILLY,                           )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Kyle Reilly
                                           26190 Lone Rock Court
                                           Valencia, CA 91381




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Sarah M. Matz, Esq.
                                           Gary Adelman, Esq.
                                           John Werner, Esq.
                                           ADELMAN MATZ P.C.
                                           1159 Second Ave, Suite 153
                                           New York, New York 10065

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:             02/05/2024                                                                     s/ G. Pisarczyk
                                                                                          Signature of Clerk or Deputy Clerk
